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                                                            United States Courts
                                                          Southern District of Texas
                                                                   FILED
                                                             September 30, 2016
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                                                        David J. Bradley, Clerk of Court



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